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              1V~1W CD11'IES! A~1~TGELA ~Q~.ICE, (            tar,~c3400, SS#1cxxxx-3.622) bese~oaft~r

      referred to pus Plaintiff, c:omzplainiag of aid taut HOWARD MA~'~E~,D anti PCC

      REF~C~RATET!EKPRES$ A~IC. Tx1~l~. ~C~ TRAN8~4RTATiON, hc~~eiaaft~r refcrrcd to

      n~ ~~ndant~, and fc~r causc of a~Qn shor~v into the Court the foIlowl~ag:

                                A~~CtfVER'Y CGINT1tOI. ~P.~.A~T I.~'V~Y.,

             1.      (t fs requested that this I~wsuit be handled as a Leve! ~ T1(scavery case. Pl~irr~iff

      seeks monetary relief over $lOp,0~o.00 but nit more than $200,dD0.(~0. Plaice#ifPs Regqest for

      Written fiisclosure is being served upon defendant with this petition and citation.

                                         PART'I~S A1VD S~ItV~~E

             2.     Fl~ialaff, ANGELA ~x.XCE, is an itndividuat residing yin Da11~, Dallas Cowaty,

     rte.
             3.     ]7efentdaut g~WE►RD 1V[AY~E~D i~ ~uu ~rlirridual vvho is a x+csid~icc is IS55
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                  4.      DefendPmt    PCC      REFRYG~YtATED            E7~PRESlS      INC. A/FJ,A,      pCC
        ~i.ANSI"t~RTA"X~ON,i~ a Coxporation c~oiarg businessin tha StateofTexas,'that mayire s~rvcd by

        sag its Uwn~a,~MAI~`Y MATZat 2365 ~e~onnanc~ Way,Columbus Ohio432072858 ~uvhenc

        ser~rioc may be ~,ad upon har,oriu the slte~ativc,any ot~cr ~~aoc sb~ xz~ay ba ~ouQd.

                                          3X7RT~DI        QN ANA]VIiNUE
                  S.    `Thc ~nbjcct~in co~snvr,~^~y is w~ttxin thojuirisdiclaan~al limits o~this court.

                         ~Ve~ue in Dallas County ie ,proper izt this cause W2C'~ Section ~ S.p02(a)(1)
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       Texas C~it~il I'r~icx~ and Re~nad~s ~odc~rrac~so the event complainer if► tk~is ia~w~it took
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       Llallas Cnttnty, Texas in tk~~ county.

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              7.        On or about rely 1X ~'+ 20I4, Plaanti~ANG          PCIX,YCE way tra~valix~g an~I20in
       ~alla~, Texan, avhcn, su~dd~anly sack wit}~mit warp~n~ Defenda~.t HOWA.~D MA'YFIE
                                                                                         LD          ~uvha was
       drirri»g a truck owaod,leased, a~ oth'e~wise unda~c tba control of~~adant'      C R~~+'RT~F~AJ,TE~
      E7~,'REBS INC. DBlt1~ ~'GC T1t,A►~i5'~'t~RTA'i'YON, way diving at an. ~impmper lane
                                                                                                     chen~e,
      mare s~ improper          catYsing ~, collieio~ ~6etwe~, h]~e twa vehiole$,

                                  P~IAINT~~"~ CL~1V! OF NECx~,I~~1V~CE
                                     .A,~AINSTBQWARD MA         I.b+
             8.        De£~ndant HfaW           N~.4YFI~.D had a duty to axtrcise~degree of +Gary t1~at a
      raasanably carcfi~ peason woutd uss to ~voici haum to mars nndar
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     descat~'bed he~in.

             9.        Plainti~~ ~naun[r.~ wets proximately Gausec3. bY► ~7e~e~claat HOWA~tI
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     ~AYFIE~?'S ue~ige~t, carel~oss andrya dxsragarid oaf eaiti du#y.


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              I0.     The nagligent, caz+eless az~d rockless disre~gazrl of duty of l~efet~dz~at COWARD

       MAYY~'Y~I.D ed~s~isted oaf, but is not Iin~it~i. ta,the fa~lpw~ing~a~ud o~oaissioas:

                      A.     ra that D~feadantHOWARD MAY~LYffailed to keep a proper loolro~tt
                             fqr Flait~ti~t`ssafetythat woulfl have been m,~int~ine~~y a person ofordinaty
                             pntde~ce under the same or similar circumstancca;

                     B.      In that I3efa~c~a~nt ~[~'W,A~D MA,Xk7,ELD failcd to turn h~ v~c1e bo the
                             xig~t or!eft in ~n effort to avoid the callistiion camplsinacl o~

                     C.      In tktat bafeaadant ~OWARU MAYFIELX] o~a~agcd lanes whew it ~svas
                             i111SS~C fiA (10 8d'
                                                y


                     I7.     In that Defendant HO'W~4RD MAY.F~~,D failed to keel such distance
                             $way ~ioo~m Plaintiffs motor vehiczle as a p~so~,usi~tag ox~di~sry gr~dtnt taro
                             wou]d h~avc dame;

                     B.      i~ttba#De$emdatxt HtJWAXtU 11~4.~'F'iELy7► was o~at~tng~s orator v'ebid~
                             at a rats af~ced ~rhicx► was gre~st~r t~mo that ww~uld~av~ been Qparatai'by a
                             persan of orcHnary paudcdacc undex tho same ar sdmitar c~iz4~u+oa~t~ncea;

                     f,~.    In that D~Feadant HOWARD MA'.       ~,D wiled to apply hip bral~es to hi's
                             ve~cle m a t~nely gad p~ucieat manncr arid/a~ ~ovhally moiled to ably hip
                             bakes; and

                    H.       ~a     dm~t HC1'VVA~Y} MAYF~;LD fsited to yield the xxgflt. of way.


       ~'Y.AIIVZ~FF'~ CLAI~VI OF1VEGIG~'1~TG'~ AG,A~TBT UGC ~~RYG~RAT~D E                           RE~~
                              11~TC. D/$!A, ACC 3'~tANSPORTATY0IV

              11.    Bec~ausa of the ads and/or tnmtis~#ons of its em~layee, Dcfmda~at PAC
     REFRIGERA~~'ED ~: itE$S INC. D/B/A ~'CC TItANSt'U1tTATION, ~s x~spo~~]e for tie
     actions amd/ar omissions o.~i~ e~pla~eundue the doch~iae ofrespondaat superior and or rria~,iatts
     li~iiIity. At all ti~mas ref~rad to is t~s shit, Defcndant, SOW1~D 11~.A.X~'iELD wss am egen~,
     scrv~nt, andlor amployce of'Defenu]a~.t, PCC REkZtIGE1tAT~~ ~ iES~ INC. D/BJA PCC
     Z'Rt~1~SP+C?~7',A,'~'~Q~N

                            pAMA.G~S FUYt FLAINTIF~+', ANGELA ~'D~IGE

            lZ.     Aa a direct arnd ~roximata r~a~lt of t,~e ac7curre~ce Yuede t}~e basis of this lawa~xit,


     PLAIl~!'Y'TFF'8 ~RSAiNAL PETFFIbN— ANQELA I~l]Y,ICE                                             T~ge 3
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         Plaitttif~ AN~~L~I.,POLICE was ~.t~ssd to offer servere injuries, and. to iucmr the ~ollowi~
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         damages:

                         A..    ~tteas~nsble medicat Dare ar►c3 expcnses in the past, These expe~es wart
                                incurred ~y Plaintiff`, ANG~I.A, POLXC~E ~'or the ~erc~sary c~r~ and
                                treatmcnt aftheinjurlrs ~tltingfraID the accidcnt comp~ainad of ~aroirt ~u~
                                aucti charges ~ro~oaaai>le ~d w+e~ usual and ct~stoinar~ c~~rges far such
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                       B.       Reasonable and ~ecassary medical caxc srid e~cpenses w~ch wiIl in
                                                                                                  ~.Ll
                                z~asonable probability'~e inourncd in the firtEnc;

                      C.       Ph~i~cal pain gad sufferingin tht past;

                      D.       ~ysic.~l pain and. ~u~f"eza.~g in the future;



                      F.       Physical impairm~eant ~hirh, in all re~aoaable ~ba~ri~ity, w~71~e gufFe~c~ed in
                               the fitt~u+s;

                      G.       Mcntsl anguish i~a. the past; and

                    I.         M~ta~ anguiai~ is the futures


                                                ~~~UEST FQR DI6CI.OSURE

                             In accard~n~e with Tex.R.CIv.P..~9A, you are requested to disclose to
                 Piatntit#s atthe office ofth~ undersigned counsel far Plaintiffs, wltf,i~ ~tfty f50j days
                                                                                                             a~
                 Service of this request, the information or materfa! descrlbe~i in Rule 194,2
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